                                 Case:09-12784-jrh      Doc #:1-1 Filed: 10/30/09                                  Page 1 of 18
B6A (Official Form 6A) (12/07)

In re:   JONATHAN W. GINKA                                                                                           Case No.
                                                                    ,
                                                                                                                                                 (If known)
                                               Debtor



                                       SCHEDULE A - REAL PROPERTY




                                                                                 HUSBAND, WIFE, JOINT
                                                                                                                     CURRENT VALUE
                                                                                                                      OF DEBTOR'S




                                                                                    OR COMMUNITY
                                                                                                                       INTEREST IN
               DESCRIPTION AND                                                                                     PROPERTY, WITHOUT                    AMOUNT OF
                                                   NATURE OF DEBTOR'S                                                DEDUCTING ANY
                 LOCATION OF                                                                                                                             SECURED
                                                  INTEREST IN PROPERTY                                              SECURED CLAIM
                  PROPERTY                                                                                                                                CLAIM
                                                                                                                      OR EXEMPTION




 Home located at: 629 E. Sunset Dr., N.      Fee Owner                                  J                                     $ 101,000.00                    $ 91,431.00
 Muskegon, MI 49445 -

 Value per fair market estimate
 & SEV x 2

 Joint with non-filing spouse: Tricia
 Ginka
 TO BE PAID OUTSIDE PLAN

                                                                         Total                              $ 101,000.00
                                                                                                        (Report also on Summary of Schedules.)
                                    Case:09-12784-jrh               Doc #:1-1 Filed: 10/30/09            Page 2 of 18
B6B (Official Form 6B) (12/07)

In re      JONATHAN W. GINKA                                                          ,               Case No.
                                                                 Debtor                                                                 (If known)



                                          SCHEDULE B - PERSONAL PROPERTY




                                                                                                                 HUSBAND, WIFE, JOINT
                                                                                                                                         CURRENT VALUE OF




                                                                                                                   OR COMMUNITY
                                                                                                                                         DEBTOR'S INTEREST
                                                                                                                                         IN PROPERTY, WITH-


                                                     NONE
                                                                          DESCRIPTION AND LOCATION                                       OUT DEDUCTING ANY
               TYPE OF PROPERTY                                                 OF PROPERTY                                                 SECURED CLAIM
                                                                                                                                            OR EXEMPTION




  1. Cash on hand                                    X
  2. Checking, savings or other financial                   Family Financial Credit Union                                                              16.00
     accounts, certificates of deposit, or
     shares in banks, savings and loan, thrift,             savings - balance varies
     building and loan, and homestead
     associations, or credit unions, brokerage
     houses, or cooperatives.
        Checking, savings or other financial                National City Bank-                                                                        33.00
        accounts, certificates of deposit, or
        shares in banks, savings and loan, thrift,          checking - @ $32.00
        building and loan, and homestead                    savings @ $1.00
        associations, or credit unions, brokerage           balances vary
        houses, or cooperatives.
  3. Security deposits with public utilities,        X
     telephone companies, landlords, and
     others.
  4. Household goods and furnishings,                       Misc. electronics - lien /lap top computer -TO BE                                        1,200.00
     including audio, video, and computer
     equipment.                                             PAID THROUGH PLAN
        Household goods and furnishings,                    Usual furnishings                                         J                              2,500.00
        including audio, video, and computer
        equipment.
  5. Books, pictures and other art objects,          X
     antiques, stamp, coin, record, tape,
     compact disc, and other collections or
     collectibles.
  6. Wearing apparel.                                       Usual apparel                                                                             300.00
  7. Furs and jewelry.                                      Misc. jewelry/watches                                                                     800.00
  8. Firearms and sports, photographic, and                 Glock 36 .45 handgun - used in police work                                                300.00
     other hobby equipment.
        Firearms and sports, photographic, and              Rock & Roll hall of fame framed poster                                                    300.00
        other hobby equipment.
  9. Interests in insurance policies. Name           X
     insurance company of each policy and
     itemize surrender or refund value of
     each.
 10. Annuities. Itemize and name each                X
     issuer.
 11. Interests in an education IRA as defined        X
     in 26 U.S.C. § 530(b)(1) or under a
     qualified State tuition plan as defined in
     26 U.S.C. § 529(b)(1). Give particulars.
     (File separately the record(s) of any such
     interest(s). 11 U.S.C. § 521(c).)
 12. Interests in IRA, ERISA, Keogh, or other               457 Deferred compensation plan                                                           1,000.00
     pension or profit sharing plans. Give
     particulars.
 13. Stock and interests in incorporated and         X
     unincorporated businesses. Itemize.
 14. Interests in partnerships or joint              X
     ventures. Itemize.
                                  Case:09-12784-jrh                Doc #:1-1 Filed: 10/30/09           Page 3 of 18
B6B (Official Form 6B) (12/07) -- Cont.

In re   JONATHAN W. GINKA                                                              ,             Case No.
                                                                Debtor                                                                 (If known)



                                         SCHEDULE B - PERSONAL PROPERTY
                                                                         (Continuation Sheet)




                                                                                                                HUSBAND, WIFE, JOINT
                                                                                                                                        CURRENT VALUE OF




                                                                                                                  OR COMMUNITY
                                                                                                                                        DEBTOR'S INTEREST
                                                                                                                                        IN PROPERTY, WITH-


                                                    NONE
                                                                          DESCRIPTION AND LOCATION                                      OUT DEDUCTING ANY
            TYPE OF PROPERTY                                                    OF PROPERTY                                                SECURED CLAIM
                                                                                                                                           OR EXEMPTION




 15. Government and corporate bonds and             X
     other negotiable and nonnegotiable
     instruments.
 16. Accounts receivable.                           X
 17. Alimony, maintenance, support, and             X
     property settlements to which the debtor
     is or may be entitled. Give particulars.
 18. Other liquidated debts owed to debtor          X
     including tax refunds. Give particulars.
 19. Equitable or future interests, life estates,   X
     and rights or powers exercisable for the
     benefit of the debtor other than those
     listed in Schedule A - Real Property.
 20. Contingent and noncontingent interests         X
     in estate of a decedent, death benefit
     plan, life insurance policy, or trust.
 21. Other contingent and unliquidated              X
     claims of every nature, including tax
     refunds, counterclaims of the debtor,
     and rights to setoff claims. Give
     estimated value of each.
 22. Patents, copyrights, and other                 X
     intellectual property. Give particulars.
 23. Licenses, franchises, and other general        X
     intangibles. Give particulars.
 24. Customer lists or other compilations           X
     containing personally identifiable
     information (as defined in 11 U.S.C. §
     101(41A)) provided to the debtor by
     individuals in connection with obtaining a
     product or service from the debtor primarily
     for personal, family, or household
     purposes.
 25. Automobiles, trucks, trailers, and other              2001 Mercury Sable -lien/value per fair market                                           3,000.00
     vehicles and accessories.
                                                           estimate TO BE PAID THROUGH PLAN
 26. Boats, motors, and accessories.                X
 27. Aircraft and accessories.                      X
 28. Office equipment, furnishings, and             X
     supplies.
 29. Machinery, fixtures, equipment and             X
     supplies used in business.
 30. Inventory.                                     X
 31. Animals.                                              Lab/boxer dog                                                                             100.00
 32. Crops - growing or harvested. Give             X
     particulars.
 33. Farming equipment and implements.              X
 34. Farm supplies, chemicals, and feed.            X
                                Case:09-12784-jrh             Doc #:1-1 Filed: 10/30/09          Page 4 of 18
B6B (Official Form 6B) (12/07) -- Cont.

In re   JONATHAN W. GINKA                                                          ,           Case No.
                                                          Debtor                                                                     (If known)



                                      SCHEDULE B - PERSONAL PROPERTY
                                                                   (Continuation Sheet)




                                                                                                              HUSBAND, WIFE, JOINT
                                                                                                                                      CURRENT VALUE OF




                                                                                                                OR COMMUNITY
                                                                                                                                      DEBTOR'S INTEREST
                                                                                                                                      IN PROPERTY, WITH-


                                               NONE
                                                                    DESCRIPTION AND LOCATION                                          OUT DEDUCTING ANY
           TYPE OF PROPERTY                                               OF PROPERTY                                                    SECURED CLAIM
                                                                                                                                         OR EXEMPTION




 35. Other personal property of any kind not   X
     already listed. Itemize.

                                                      2   continuation sheets attached                Total                                       $ 9,549.00

                                                                                                          (Include amounts from any continuation sheets
                                                                                                          attached. Report total also on Summary of
                                                                                                          Schedules.)
                              Case:09-12784-jrh                   Doc #:1-1 Filed: 10/30/09          Page 5 of 18
B6C (Official Form 6C) (12/07)


In re   JONATHAN W. GINKA                                                                            Case No.
                                                                                        ,
                                                                                                                             (If known)
                                                              Debtor



                       SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:              Check if debtor claims a homestead exemption that exceeds
(Check one box)                                                              $136,875
   11 U.S.C. § 522(b)(2)
   11 U.S.C. § 522(b)(3)


                                                                                             VALUE OF                      CURRENT
                                                           SPECIFY LAW
                                                                                             CLAIMED                  VALUE OF PROPERTY
        DESCRIPTION OF PROPERTY                           PROVIDING EACH
                                                                                            EXEMPTION                 WITHOUT DEDUCTING
                                                            EXEMPTION
                                                                                                                          EXEMPTION


2001 Mercury Sable -lien/value              11 USC § 522(d)(2)                                   1,300.00                                 3,000.00
per fair market estimate TO BE
PAID THROUGH PLAN
457 Deferred compensation                   11 USC § 522(d)(12)                                  1,000.00                                 1,000.00
plan
Family Financial Credit Union               11 USC § 522(d)(5)                                       16.00                                  16.00
savings - balance varies
Glock 36 .45 handgun - used                 11 USC §522(d)(6)                                      300.00                                  300.00
in police work
Home located at: 629 E. Sunset              11 USC § 522(d)(1)                                   9,569.00                            101,000.00
Dr., N. Muskegon, MI 49445 -

Value per fair market estimate
& SEV x 2

Joint with non-filing spouse:
Tricia Ginka
TO BE PAID OUTSIDE PLAN
Lab/boxer dog                               11 USC § 522(d)(5)                                     100.00                                  100.00

Misc. jewelry/watches                       11 USC § 522(d)(4)                                     800.00                                  800.00

National City Bank-                         11 USC § 522(d)(5)                                       33.00                                  33.00
checking - @ $32.00
savings @ $1.00
balances vary
Rock & Roll hall of fame                    11 USC § 522(d)(5)                                     300.00                                  300.00
framed poster
Usual apparel                               11 USC § 522(d)(3)                                     300.00                                  300.00

Usual furnishings                           11 USC § 522(d)(3)                                   2,500.00                                 2,500.00
                                 Case:09-12784-jrh                                     Doc #:1-1 Filed: 10/30/09                  Page 6 of 18
B6D (Official Form 6D) (12/07)


 In re   JONATHAN W. GINKA                                                                                     ,
                                                                                                                           Case No.
                                                                                                                                                                            (If known)
                                                         Debtor


                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

                    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                                      HUSBAND, WIFE, JOINT
               CREDITOR'S NAME AND                                                                       DATE CLAIM WAS                                                     AMOUNT OF
                                                                                                                                                                                                       UNSECURED




                                                                                                                                               UNLIQUIDATED
                                                                        OR COMMUNITY
                 MAILING ADDRESS                                                                        INCURRED, NATURE                                                   CLAIM WITHOUT




                                                                                                                                  CONTINGENT
                                                           CODEBTOR
                                                                                                                                                                                                       PORTION, IF




                                                                                                                                                              DISPUTED
             INCLUDING ZIP CODE AND                                                                        OF LIEN, AND                                                      DEDUCTING
               AN ACCOUNT NUMBER                                                                         DESCRIPTION AND                                                      VALUE OF                    ANY
              (See Instructions, Above.)                                                               VALUE OF PROPERTY                                                    COLLATERAL
                                                                                                         SUBJECT TO LIEN


 ACCOUNT NO. 7001062162480408                                                                                                                                                         1,935.00                   735.00
                                                                                             Security Agreement
 Best Buy/Retail Services
                                                                                             Misc. electronics - lien /lap top
 P.O. Box 15521
                                                                                             computer -TO BE PAID
 Wilmington, DE 19850-5521
                                                                                             THROUGH PLAN
                                                                                             __________________________
                                                                                             VALUE $1,200.00
 ACCOUNT NO. 0000025035 02                                                                                                                                                            1,700.00                      0.00
                                                                                             Security Agreement
 Family Financial Credit Union
                                                                                             2001 Mercury Sable -lien/value
 525 W. Barney
                                                                                             per fair market estimate TO BE
 Muskegon, MI 49444
                                                                                             PAID THROUGH PLAN
                                                                                             __________________________
                                                                                             VALUE $3,000.00
 ACCOUNT NO. 401138608                                     X            J                                                                                                           91,431.00                       0.00
                                                                                             First Lien on Residence
 U.S Bank Home Mortgage
                                                                                             Home located at: 629 E. Sunset
 P.O. Box 20005
                                                                                             Dr., N. Muskegon, MI 49445 -
 Owensboro, KY 42304-0005
                                                                                             Value per fair market estimate
                                                                                             & SEV x 2

                                                                                             Joint with non-filing spouse:
                                                                                             Tricia Ginka
                                                                                             TO BE PAID OUTSIDE PLAN
                                                                                             __________________________
                                                                                             VALUE $101,000.00




 0        continuation sheets
          attached
                                                                                             Subtotal
                                                                                             (Total of this page)
                                                                                                                                                                           $        95,066.00 $                  735.00



                                                                                             Total                                                                         $        95,066.00 $                 735.00
                                                                                             (Use only on last page)


                                                                                                                                                                         (Report also on Summary of (If applicable, report
                                                                                                                                                                         Schedules)                 also on Statistical
                                                                                                                                                                                                    Summary of Certain
                                                                                                                                                                                                    Liabilities and
                                                                                                                                                                                                    Related Data.)
                                    Case:09-12784-jrh                Doc #:1-1 Filed: 10/30/09                      Page 7 of 18
B6E (Official Form 6E) (12/07)

In re       JONATHAN W. GINKA                                                            ,                              Case No.
                                                                Debtor                                                                               (If known)


                 SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

        Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.


TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)
        Domestic Support Obligations
     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).


        Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

        Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

        Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

        Certain farmers and fishermen

        Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

        Deposits by individuals

      Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).

        Taxes and Certain Other Debts Owed to Governmental Units
        Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

        Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).

        Claims for Death or Personal Injury While Debtor Was Intoxicated

     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
another substance. 11 U.S.C. § 507(a)(10).

     * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.
                                                                    1 continuation sheets attached
                                  Case:09-12784-jrh                                       Doc #:1-1 Filed: 10/30/09                                                       Page 8 of 18
B6E (Official Form 6E) (12/07) – Cont.


In re     JONATHAN W. GINKA                                                                                                                                                 Case No.
                                                                                                                  ,                                                                                  (If known)
                                                                      Debtor


               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                 (Continuation Sheet)




                                                                   HUSBAND, WIFE, JOINT
             CREDITOR'S NAME,                                                                DATE CLAIM WAS                                                                AMOUNT            AMOUNT          AMOUNT




                                                                     OR COMMUNITY




                                                                                                                                                UNLIQUIDATED
                                                                                                                                   CONTINGENT
                                                        CODEBTOR




                                                                                                                                                               DISPUTED
              MAILING ADDRESS                                                                 INCURRED AND                                                                 OF CLAIM        ENTITLED TO         NOT
            INCLUDING ZIP CODE,                                                              CONSIDERATION                                                                                  PRIORITY       ENTITLED TO
           AND ACCOUNT NUMBER                                                                   FOR CLAIM                                                                                                  PRIORITY, IF
           (See instructions above.)                                                                                                                                                                           ANY



 ACCOUNT NO.
                                                                                                                                                                                                                  $0.00




                                                                                                                                  Subtotals                       $
Sheet no. 1 of 1 continuation sheets attached to Schedule of                                                          (Totals of this page)
                                                                                                                                                                               0.00 $             0.00 $            0.00
Creditors Holding Priority Claims


                                                                                                                                 Total
                                                                                          (Use only on last page of the completed
                                                                                          Schedule E. Report also on the Summary of
                                                                                                                                                                 $             0.00
                                                                                          Schedules.)
                                                                                                                                   Total
                                                                                          (Use only on last page of the completed                                                      $          0.00 $            0.00
                                                                                          Schedule E. If applicable, report also on the
                                                                                          Statistical Summary of Certain Liabilities
                                                                                          and Related Data. )
                                  Case:09-12784-jrh                                Doc #:1-1 Filed: 10/30/09                                       Page 9 of 18
B6F (Official Form 6F) (12/07)

In re    JONATHAN W. GINKA                                                                                                                 Case No.
                                                                                                                  ,
                                                           Debtor                                                                                                               (If known)

        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

                    Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                        HUSBAND, WIFE, JOINT
                 CREDITOR'S NAME,                                                                                 DATE CLAIM WAS                                                                            AMOUNT OF




                                                                          OR COMMUNITY




                                                                                                                                                                                  UNLIQUIDATED
                                                                                                                                                                   CONTINGENT
                  MAILING ADDRESS                                                                                  INCURRED AND                                                                               CLAIM




                                                             CODEBTOR




                                                                                                                                                                                                 DISPUTED
                INCLUDING ZIP CODE,                                                                             CONSIDERATION FOR
               AND ACCOUNT NUMBER                                                                                      CLAIM.
                (See instructions above.)                                                                      IF CLAIM IS SUBJECT TO
                                                                                                                  SETOFF, SO STATE

ACCOUNT NO.         5424 1808 8578 5532                                                                                                                                                                        10,501.00
 Citibank                                                                                        charge account
 P.O. Box 6000                                                                                   during the past year
 The Lakes, NV 89162-6000



ACCOUNT NO.         xxx xx 84121                                                                                                                                                                                2,762.00
 Direct Loan Servicing                                                                           guaranteed student loan
 P.O. Box 4609                                                                                   during the past 6-7 yrs.
 Utica, NY 13504-4609



ACCOUNT NO.         4851 4300 0983 9839                                                                                                                                                                         2,938.00
 Family Financial Credit Union                                                                   charge account
 525 W. Barney                                                                                   during the past year
 Muskegon, MI 49444



ACCOUNT NO.         819 2423 5075439                                                                                                                                                                            1,109.00
 Lowe's/GE Money Bank                                                                            charge account
 Attn: Bankruptcy Department                                                                     during the past 1-2 yrs.
 P.O. Box 103104
 Roswell, GA 30076


ACCOUNT NO.         6004 3001 1141 0459                                                                                                                                                                         2,009.00
 Menard's/Retail Services                                                                        charge account
 P.O. Box 15521                                                                                  during the past 1-2 yrs.
 Wilmington, DE 19850-5521



                1    Continuation sheets attached

                                                                                                                                                                 Subtotal                           $          19,319.00



                                                                                                                                                                                                    $
                                                                                                                                                                          Total
                                                                                                                   (Use only on last page of the completed Schedule F.)
                                                                                               (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                      Summary of Certain Liabilities and Related Data.)
                                   Case:09-12784-jrh                              Doc #:1-1 Filed: 10/30/09                                           Page 10 of 18
B6F (Official Form 6F) (12/07) - Cont.

In re      JONATHAN W. GINKA                                                                                                                   Case No.
                                                                                                                      ,
                                                                Debtor                                                                                                              (If known)

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                            HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                                   DATE CLAIM WAS                                                                            AMOUNT OF




                                                                              OR COMMUNITY




                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                       CONTINGENT
                    MAILING ADDRESS                                                                                    INCURRED AND                                                                               CLAIM




                                                                 CODEBTOR




                                                                                                                                                                                                     DISPUTED
                  INCLUDING ZIP CODE,                                                                               CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                        CLAIM.
                  (See instructions above.)                                                                        IF CLAIM IS SUBJECT TO
                                                                                                                      SETOFF, SO STATE

 ACCOUNT NO.        none                                                                                                                                                                                              300.00
 Michalski, Barbara                                                                                  personal loan
 Re: personal loan
 10409 Vista Del Sol
 Albuquerque, NM


 ACCOUNT NO.        754682909                                                                                                                                                                                         500.00
 National City                                                                                       overdraft service
 P.O. Box 2349                                                                                       during the past year
 Kalamazoo, MI 49003-2349



 ACCOUNT NO.        J088392742                                                                                                                                                                                     22,132.00
 Nelnet                                                                                              guaranteed student loan
 3015 S. Parker Rd., Ste 400                                                                         during the past 2-3 yrs.
 Aurora, CO 80014




Sheet no. 1 of 1 continuation sheets attached to Schedule of Creditors                                                                                               Subtotal                           $          22,932.00
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                        $           42,251.00
                                                                                                                                                                              Total
                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                   (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                          Summary of Certain Liabilities and Related Data.)
                             Case:09-12784-jrh               Doc #:1-1 Filed: 10/30/09                  Page 11 of 18
B6G (Official Form 6G) (12/07)


In re:   JONATHAN W. GINKA                                                          ,        Case No.
                                                         Debtor                                                  (If known)


 SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

         Check this box if debtor has no executory contracts or unexpired leases.


                                                                                        DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                DEBTOR'S INTEREST, STATE WHETHER LEASE IS FOR
              OF OTHER PARTIES TO LEASE OR CONTRACT.                                    NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                            NUMBER OF ANY GOVERNMENT CONTRACT.
                           Case:09-12784-jrh            Doc #:1-1 Filed: 10/30/09        Page 12 of 18
B6H (Official Form 6H) (12/07)


In re: JONATHAN W. GINKA                                                      Case No.
                                                                     ,                             (If known)
                                                      Debtor


                                            SCHEDULE H - CODEBTORS
         Check this box if debtor has no codebtors.




                   NAME AND ADDRESS OF CODEBTOR                                 NAME AND ADDRESS OF CREDITOR


   Ginka, Tricia                                                    U.S Bank Home Mortgage
   Re: co-signed account                                            P.O. Box 20005
   629 Sunset                                                       Owensboro, KY 42304-0005
   Muskegon, MI 49445
                               Case:09-12784-jrh               Doc #:1-1 Filed: 10/30/09                      Page 13 of 18
B6I (Official Form 6I) (12/07)

 In re     JONATHAN W. GINKA                                                         ,                   Case No.
                                                                  Debtor                                                               (If known)


            SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.



 Debtor’s Marital
                                                                   DEPENDENTS OF DEBTOR AND SPOUSE
 Status:       married
                                                RELATIONSHIP(S):                                                                  AGE(S):
                                          debtor                                                                                                    26
                                          spouse                                                                                                    26
                                          Allison/daughter                                                                                           8
                                          Keira/daughter                                                                                             5
 Employment:                                            DEBTOR                                                        SPOUSE
 Occupation                     police officer                                                    homemaker/unemployed
 Name of Employer               City of Norton Shores
 How long employed              2 + yrs
 Address of Employer            4814 Henry St.
                                Muskegon, MI 49441
                                (231)733-2691
 INCOME: (Estimate of average or projected monthly income at time
              case filed)                                                                                     DEBTOR                         SPOUSE


 1. Monthly gross wages, salary, and commissions                                                    $                 5,253.00 $                         0.00
      (Prorate if not paid monthly.)
 2. Estimate monthly overtime                                                                       $                      0.00 $                        0.00
 3. SUBTOTAL                                                                                        $                5,253.00      $                     0.00
 4. LESS PAYROLL DEDUCTIONS
         a. Payroll taxes and social security                                                       $                   687.00 $                         0.00
                                                                                                    $                     0.00 $                         0.00
         b. Insurance
         c. Union dues                                                                              $                    45.00 $                         0.00
         d. Other (Specify)       uniform replacement                                                $                    3.00     $                     0.00

 5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                  $                   735.00 $                         0.00
 6. TOTAL NET MONTHLY TAKE HOME PAY                                                                 $                 4,518.00 $                         0.00
 7. Regular income from operation of business or profession or farm
         (Attach detailed statement)                                                                $                      0.00 $                        0.00
 8. Income from real property                                                                       $                      0.00 $                        0.00
 9. Interest and dividends                                                                          $                      0.00 $                        0.00
 10. Alimony, maintenance or support payments payable to the debtor for the
      debtor’s use or that of dependents listed above.                                              $                      0.00 $                        0.00
 11. Social security or other government assistance
 (Specify)                                                                                          $                      0.00 $                        0.00
 12. Pension or retirement income                                                                   $                      0.00 $                        0.00
 13. Other monthly income
 (Specify)                                                                                          $                      0.00 $                        0.00
 14. SUBTOTAL OF LINES 7 THROUGH 13                                                                 $                     0.00    $                      0.00
 15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                   $                 4,518.00 $                         0.00
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B6I (Official Form 6I) (12/07) - Cont.
 In re   JONATHAN W. GINKA                                                          ,                Case No.
                                                                 Debtor                                                             (If known)


         SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
 16. COMBINED AVERAGE MONTHLY INCOME: (Combine column                                                                   $ 4,518.00
 totals from line 15)
                                                                                               (Report also on Summary of Schedules and, if applicable, on
                                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document.:
 Income does vary depending on extra required appearance - crowd control for events etc. Above is a year to
 date average
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B6J (Official Form 6J) (12/07)

  In re JONATHAN W. GINKA                                                            ,                          Case No.
                                                           Debtor                                                                  (If known)

                 SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
         Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case filed. Prorate
any payments made biweekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may
differ from the deductions from income allowed on Form22A or 22C.
       Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
       expenditures labeled "Spouse."

 1. Rent or home mortgage payment (include lot rented for mobile home)                                                        $                   836.00
      a. Are real estate taxes included?         Yes                      No
       b. Is property insurance included?        Yes                      No
 2. Utilities: a. Electricity and heating fuel                                                                                $                   250.00
               b. Water and sewer                                                                                             $                    65.00
               c. Telephone                                                                                                   $                   130.00
               d. Other cable tv                                                                                             $                     33.00
 3. Home maintenance (repairs and upkeep)                                                                                     $                   100.00
 4. Food                                                                                                                      $                   700.00
 5. Clothing                                                                                                                  $                   250.00
 6. Laundry and dry cleaning                                                                                                  $                   130.00
 7. Medical and dental expenses                                                                                               $                   150.00
 8. Transportation (not including car payments)                                                                               $                   360.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                          $                   150.00
10. Charitable contributions                                                                                                  $                     0.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
                 a. Homeowner’s or renter’s                                                                                   $                     0.00
                 b. Life                                                                                                      $                     0.00
                 c. Health                                                                                                    $                     0.00
                 d. Auto                                                                                                      $                    67.00
                 e. Other                                                                                                     $                      0.00
 12. Taxes (not deducted from wages or included in home mortgage payments)
 (Specify)                                                                                                                    $                      0.00
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
                a. Auto                                                                                                       $                      0.00
                 b. Other                                                                                                     $                      0.00
 14. Alimony, maintenance, and support paid to others                                                                         $                     0.00
 15. Payments for support of additional dependents not living at your home                                                    $                     0.00
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                             $                     0.00
 17. Other children's extracurricular/allowances                                                                              $                     80.00
            hair cuts                                                                                                         $                     30.00
            school lunches                                                                                                    $                     85.00
            vet/pet care                                                                                                      $                     50.00
 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
 if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)                                          $                 3,466.00

 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:


 20. STATEMENT OF MONTHLY NET INCOME
           a. Average monthly income from Line 15 of Schedule I                                                               $                 4,518.00
           b. Average monthly expenses from Line 18 above                                                                     $                 3,466.00
           c. Monthly net income (a. minus b.)                                                                                $                 1,052.00
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B6 Summary (Official Form 6 - Summary) (12/07)

                                                           United States Bankruptcy Court
                                                              Western District of Michigan


In re JONATHAN W. GINKA                                                                ,                    Case No.
                                                               Debtor
                                                                                                            Chapter       13

                                                    SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from
Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities
and Related Data” if they file a case under chapter 7, 11, or 13.




      NAME OF SCHEDULE                     ATTACHED        NO. OF SHEETS                   ASSETS                      LIABILITIES                     OTHER
                                            (YES/NO)

 A - Real Property                            YES                       1        $           101,000.00

 B - Personal Property                        YES                       3        $              9,549.00

 C - Property Claimed
     as Exempt                                YES                       1

 D - Creditors Holding                        YES                       1                                     $                95,066.00
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                          YES                       2                                     $                      0.00
     (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured              YES                       2                                     $                42,251.00
     Nonpriority Claims

 G - Executory Contracts and                  YES                       1
     Unexpired Leases

 H - Codebtors                                YES                       1

 I - Current Income of                                                                                                                         $            4,518.00
     Individual Debtor(s)                     YES                       2

 J - Current Expenditures of                  YES                       1
     Individual Debtor(s)                                                                                                                      $            3,466.00

                                                                      15         $          110,549.00        $           137,317.00
                                    TOTAL
                            Case:09-12784-jrh                    Doc #:1-1 Filed: 10/30/09                 Page 17 of 18
Form 6 - Statistical Summary (12/07)

                                                       United States Bankruptcy Court
                                                        Western District of Michigan

In re   JONATHAN W. GINKA                                                          ,
                                                                                                       Case No.
                                                                Debtor                                 Chapter    13


          STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
           If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.


                Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.


This information is for statistical purposes only under 28 U.S.C. § 159.



Summarize the following types of liabilities, as reported in the Schedules, and total them.



 Type of Liability                                                           Amount
 Domestic Support Obligations (from Schedule E)                             $
 Taxes and Certain Other Debts Owed to Governmental Units (from
 Schedule E)                                                                $

 Claims for Death or Personal Injury While Debtor Was
 Intoxicated (from Schedule E) (whether disputed or undisputed)             $

 Student Loan Obligations (from Schedule F)                                 $ 24,894.00

 Domestic Support, Separation Agreement, and Divorce Decree
 Obligations Not Reported on Schedule E.                                    $

 Obligations to Pension or Profit-Sharing, and Other Similar Obligations
 (from Schedule F)                                                          $

                                                                TOTAL        $ 24,894.00

State the following:

 Average Income (from Schedule I, Line 16)                                  $ 4,518.00

 Average Expenses (from Schedule J, Line 18)                                $ 3,466.00
 Current Monthly Income (from Form 22A Line 12; OR, Form
 22B Line 11; OR, Form 22C Line 20 )                                        $ 5,045.00


State the following:

 1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column
                                                                                                   $735.00

 2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY”
 column.                                                                    $
 3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY,
 IF ANY” column                                                                                    $
 4. Total from Schedule F                                                                          $42,251.00

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                      $42,986.00
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B6 Declaration (Official Form 6 - Declaration) (12/07)


  In re JONATHAN W. GINKA                                                              ,                                Case No.
                                                           Debtor                                                                        (If known)



                          DECLARATION CONCERNING DEBTOR'S SCHEDULES
                             DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                        17
sheets, and that they are true and correct to the best of my knowledge, information, and belief.

Date: 10/27/2009                                                               Signature: /S/ JONATHAN W. GINKA
                                                                                           JONATHAN W. GINKA
                                                                                                                        Debtor
                                                                              [If joint case, both spouses must sign]


       DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP
                                                                     (NOT APPLICABLE)




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C §§ 152 and 3571.
